               Case 8:19-bk-01274-CPM             Doc 132   Filed 07/24/19     Page 1 of 2



                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION
                                     (www.flmb.uscourts.gov)

In re:

NATIONAL RADIOLOGY CONSULTANTS, P.A.,                            Case No. 8:19-bk-01274
                                                                 Chapter 11 Proceeding
      Debtor.
___________________________________/

                                 OBJECTION TO CONFIRMATION

          Creditor, Satish Venkataperumal, M.D. (“Satish”), by his undersigned counsel, hereby

objects to confirmation of the Debtor’s Amended Plan of Liquidation (Doc. 120 – the “Plan”), and

states:

          1.      Satish is a creditor in this case with a filed claim in the amount of $138,561.52, part

of which is an unsecured priority claim (Claim no. 16). For purposes of the Plan, it appears that

Satish has claims in Class 1 – Unsecured Priority Wage Claims, and Class 5 – Unsecured Wage

Claims.

          2.      Satish objects to confirmation of the Plan on the following grounds:

          a) The Effective Date of the Plan is unclear and completely within the control of the

               Debtor;

          b) The “subordination” language relating to the claims of Dr. Okoh is unclear;

          c) The concept of a “critical vendor” is inconsistent with the concept of a liquidating plan;

          d) The Exoneration and Reliance provision in Section 5.10 is inappropriate;

          e) The Third Party Discharge and Discharge Injunction provision in Section 2.4 is

               inappropriate. The Plan is a liquidating plan and not even the Debtor is entitled to a

               discharge in a liquidating case;

          f) The Plan does not comply with the best interest of creditors test;
            Case 8:19-bk-01274-CPM          Doc 132      Filed 07/24/19    Page 2 of 2



        g) The Plan is not filed in good faith and is for the primary benefit of insiders, i.e. Dr.

            Okoh; and

        h) The Plan inappropriately grants liens on assets of affiliates through substantive

            consolidation. Such provision is inappropriately buried in Section 2.4 of the Plan.

Wherefore, Satish objects to confirmation of the Plan.

                                                      JOHNSON, POPE, BOKOR,
                                                      RUPPEL & BURNS, LLP

                                                By:    /s/ Michael C. Markham
                                                      Michael C. Markham (FBN: 0768560)
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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been served

electronically on all CM/ECF participants this 24th day of July, 2019.


                                                      /s/ Michael C. Markham
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